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                                                                                _~_(J,~
                    IN ~'IlE UNITED STATES DISTR~cr
                                                    .'       ~c;.ft:2 --'-,-,-
                                                             COURT
                                                                           8Y      ~
               FOR THE SOUTHERN DISTRICT OF MISSISSIP~--==-()fOur. ;
                                                                   ~
                                                                    ._---~~
                              SOUTHERN        DIVISION


UNITED   STATES   OF AMERICA,                            )
                                                         )
       Plaintiff,                                        y
                                                         )
  v.                                                     )
                                                         )      civil Action            Number:
HARRISON   COUNTY,     MISSISSIPPI,    et al.,           )
                                                                       1:95cv5GR
                                                         )
   Defendants.                                           )

-~-------------------)




                                CONSENT~




                                  ~
                                  z   PLAINTIFF'S
                                        EXHIBIT
                                      _fl2°
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         I.        INTRODUCTION

         1.        This         Court    has jurisdiction           over this       action     pursuant         to

28 U.S.C.            section           1345.

        2.         Venue         in the Southern           District      of Mississippi,          Southern

Division,            is appropriate              pursuant       to 28 U.StC.
                                                                             -,     section      1391(b).

        3.        The United             States    has met all pre-filing                requirements

stated         in the civil              Rights    of Institutionalized               Persons     Act,     42

U.S.C.
           _-- section
         ...              _.~
                                 1997, et seq .
                                                                                    -
        II.          DEFINITIONS

        4.         "Plaintiff"            shall refer to the United                 States     of America.

        5.         14Defendants14 shall refer to Harrison                          County,

Mississippi,                  the Sheriff        of Harrison       County,        the Warden      or Chief

Correctional                  Officer     of the Harrison          County     Jail,      the members          of

the Harrison                  County     Board of Supervisors,             and     their    agents    and
successors               in office.

        6.        The acronym             14HCDC14shall        refer to the Harrison             County

Jail,      formally             known     as the Harrison          County     Detention        Center.

14HCDC14shall                 refer     to the main Adult          Detention        Center     located        at

10451     Larkin              Smith     Drive.

        7.       The          terms      Lnma t.e" or
                                        ••              If   Lnma t.e s " shall     refer    to one      or

more    individuals                  sentenced     to, incarcerated           in, detained         at, or

otherwise           confined            at either    the existing          jail    at 10451      Larkin

Smith    Drive.or               any     facility    constructed         either      to replace       the

~xisting          jailor             to provide     additional        housing       for the     jail.

        8.       The          term    "special     needs      inmate"    shall      refer    to those

inmates        \-.'h()   .i   re suicidal,        mentally       ill, mentally        ret.lld.>d, u nd c r.
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the influence                of alcohol                or other substances,                        or otherwise         a

danger          to themselves                      or others.

          III.          BACKGROUND
                                                                     ~
          9.          On-May             3, 1993, pursuant         to its authority                       under    the

civil       Rights

{ 1997 et seq.,
                            of Institutionalized

                                         the united      states
                                                                   Persons

                                                                   formally
                                                                                        Aqt
                                                                                             -.
                                                                                           notified
                                                                                                   (CRIPA),      42 U.S.C.

                                                                                                           Harrison

County         officials                  of its intent to investigate                             cond1tlons      of

~ntat                          ~th~ !:!~is~:m.count~g.
          10.          On June                  23-25, 1993, also pursuant                        to CRIPA,      the United

states         toured        HCDC with expert                   consultants                in the        field    of

penology,              correctional                  health   care and suicide                      prevention.          On

september              9, 1993, the United                    states      issued                 a report/findings

letter         based        on its investigation                   and expert                     tour   which    found

that HCDC              operates                 in violation     of the inmates'                     constitutional
rights.

          11.         The parties                  to this Decree         recognize                 the constitutional

rights         of the inmates                      confined     at HCDC.             In order            to avoid

litigation              concerning                 the constitutionality                     of the care          and

confinement                of inmates               at HCDC, the parties                     agree       to the

provisions             set      forth             in this Consent         Decree.

          IV.         SUBSTANTIVE                  PROVISIONS

                      A.     Security               and Supervision.

          Defendants                     shall provide        a safe and secure                      living
          ---------


environment
    _._'~_.-"~.-.~~~
  ...




Defendants
                     to all inmates
                              -~~-~~housed
                               -'   -'   ~~-~
                                                         --




           shall undertake corrective measures in each of the
                                                                   at
                                                                         --~




                                                                    ----~HCDC.
                                                                            -
                                                                           '-
                                                                                .._-~.,- ... >


                                                                                             To
                                                                                              ,.- this     -
                                                                                                           end,


  ------------------------                          -
following areas.
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         12.      staffing.               Defendants            shall ensure            that,     at each       of the

four     inmate       housing         units,       there are no less than                       two     (2)

officers        on duty          for all shifts ._- one otficer. stationed                                    in. the
                                                                           ..
unit    control         room and one officer                          posted    as a rover         for the unit.

In addition,            the facility              shall have at leas~                    one    officer        on duty
                                                                                   "-
on all     shifts         in the facility's                     main control            center.        Further,

there     shall 'be at least-one                     (1)        femal-e-officer'on' duty on all
                                             -
shifts,       whose       responsibilities                     shall include            responsibility           for

supervising           and attending               to the needs of the                    female       inmates

housed     at HeDC.             utilizing          a relief             factor,    Defendants           shall

employ     sufficient             numbers         of officers             to maintain           these    required

staffing        levels        at all times,                   including        during     periods       of staff

illness,        vacation          or other leave of absence.

        13.
                   -------_
                  Stafftraining.
                               ...•
                                                   Defendants             shall    continue           to implement

their     comprehensive               jail officer               training        program,        to include         at

  -----_.~-~--~._~_
minimum

officers
              80 hours

                (40 hours
                                of pre-service
                                                    ...•..~
                                    of which shall be prior
                                                                or orientation            training

                                                                                  to an officer
                                                                                                         to

                                                                                                          being
                                                                                                                   ,

independently


,---
40 hours
                          assigned

                of in-service
                                            to any particular

                                            training
                                                                                post),

                                                                each year thereafter.                 ---
                                                                                           and an additional

                                                                                                        Such

program       shall entail,               at minimum,             training        and testing           in the
 .•~~           ..~ ..." ...~~ ......•~
following         areas:          security         and search             procedures,           use of force

regulations           and tactics,               supervision             of inmates,           report    writing,

inmate    and staff             rules and regulations,                         rights     and

r~sponsibilities                of inmates, all emergency                         procedures,

interpersonal             relations,             social/cultural                life styles           of the




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 inmate       population,         communication             skills,     training       in first       aid

 and    the use of CPR, and training                        in HIV related           issues.

          14.     Inmate        disciplinary         practices.:         Unless       and until

 Defendants           appropriately         remodel         cell    148, Block        B section       F

 (HCDC Cs CCstrip ce1114)            --     ~,        installing         a bunk,       standardized
                                                                             ~
 toilet       and sink -- Defendants                 shall not use this              cell    for
 confinement           of inmates~

         15.      Control       of dangerous          materials/utensils.                  Defendants
shall        continue     to implement             appropriate        procedures          for securing

and     safeguarding        dangerous            materials/utensils               in the kitchen          area

 (e.g.,       large     kitchen     knives)         and dangerous         materials         in the

facilityCs            medical    unit      (~,        needles,        syringes,       and

medications).             Such procedures             shall        include       identification        of

dangerous        or potentially            dangerous         materials,          proper     storage       of

the materials            in locked areas,            and a system            of inventory       with

routine       counting      of the identified                materials.

                 B.      Access    to the Courts.

        Defendants         shall provide            HCDC inmates         with      effective       and

meaningful        access        to the courts.              To this end,          Defendants       shall:
        16.      Law library.             Defendants         shall provide           inmates    with

reasonable        access        to updated         legal materials           consisting        of at
least    the     following        materials:
        a)      One    set of the Mississippi                 Code Annotated
        b)     One     set of the United             states        Code Annotated
        c)     One set of        West's          Federal    Practice      Digest
        d)     One     set of     the l-lississippi Digest


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                                                                                    --
        e)    One volume        Black's    Law Dictionary

        f)    9ne volume        of current    Mississippi       Rules     of Court

        .g)   One volume        Federal    civil Procedpre        Handbook       (West's

               Federal       Rules of civil    Procedure)

        h)    One volume        Federal    Criminal    Procedure  .-. Handbook (West's
               Federal    Rules of Criminal          Procedure)

        i)    Handbook       -in -criminal Law (latest edition),' --LaFave a-nd----

              Scott

        j)     Prisoners'       Self-help    Litigation     Manual       (latest     edition),

              Manville        D., and Boston, J.

        k)     constitutional-Rights          of Prisoners        (latest      edition),

               Palmer,    J.

        1)    Constitutional        Rights    of the Accused         (latest      edition),

              Cook,     J.

        m)    One general        guide to legal research           "How     to Find      the



        n)    One    set of West Publishing           Company     standard       forms

        0)    A list of mailing           addresses    of all local        government,

              state     or federal courts with          jurisdiction         over    the

              inmates

        p)    Copies     of any current       decrees    or other        court    orders

              which     pertain    to operations       or conditions         of confinement

              at the jail

        17.    The    aforesaid     publications       shall    be made      available         to

the   inmate     upon    his or her visit       to the HCOC        law    library,       which

shall    be op •..
                ·l1 at least eight hours per day,                 five d a y -: ;-.':-     oe k .


                                             - 7 -
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                                                                                          --
 The    library        shall    be suitably       accommodated         for inmates       to conduct

 manual       legal     research       when direct        access    is provided.         In

 addition        to the       foregoing     volumes,       ther~:shall       be provided

 through        the assistance          of a trained~paralegal              professional,         on

 site    at the Law Library              at least eight hours; per day,
                                                      five days
                                             -,
per week, a computer printer combination with CD-ROM capability

by which         the    inmate,    upon- request, -may-ohtain -information-set--

 forth    in the        following      publications        which will        be purchased         on
CD-ROM:

         q)      United       states   Supreme    Court Reporter

         r)      Federal       Reporter     (1980 to date)

         s)      Federal       Supplement     (1980 to date)

         t)     Southern        Reporter     (Mississippi          cases)

         u)      Federal       and U.S. Supreme          Court Shepard's        Citations

         v)     Until     available       on CD-ROM,       hardbound        volumes     of the

                Shepard's        Mississippi      Citations        will be provided.

         18.      Inmates       will gain access          to the law library            and the

paralegal        by completing          a request        form entitled        "Harrison       County

Sheriff's        Department        Legal Research          Request,"        attached     as

Appendix        A.     The     Defendants    shall provide           a SUfficient        nUmber      of

request        forms    to each area of the HCDC in order                     that    the request

forms     are    available        to any inmate who requests                one.      HCDC    staff

shall     forward       completed       request    forms to the paralegal               by no

later     than       the next     business    day.        The paralegal        shall,     within       a

reasonable           amount    of time     (~,       five days)        of receipt       of the

completed        request       form, either:         1)    provide     the inmate       w i t.h



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cop~es     of relevant           materials,    which    may be taken     back        to the

inmate's        cell,     from preliminary        research    of the    issue presented;

or 2) provide           the inmate with direct            accf'$ssto the law library·.

The     paralegal       shall     also provide     assistance       to inmates        in his or

her preparation            of legal documents          or pleadi~gs.
                                                   Legal materials
                                            -,
from the CD-ROM library shall be provided via copies.   Any copies

of· cases. will,         upon     lapse of a reasonable        amount    of time        in tha

possession        of the inmate,        be returned       to the law library            for

filing     and    for potential         future    use by other       inmates    presented

with     the    same    issue     of law.

         19.     Illiterate        inmates    shall    be provided     meaningful        access

to the     courts       through     the facility       paralegal.      Such    inmates        shall
request        an interview        with the paralegal        orally    through       HCDC

staff,     who    shall     relay    such request       directly    to the paralegal;

Whereupon        the paralegal        shall,     within   a reasonable        amount    of

time,     personally        interview       the inmate,    ascertain     the inmate1s

research        request,     and assist       the inmate     in obtaining       relevant

legal    materials         and    filing meaningful       legal documents,           should

such    documents        need     to be filed.

        20.      In the event        that an inmate       is facing     a specific          court

deadline       or statute         of limitation,       the Defendants        shall    make

reasonable        efforts        to allow the inmate       additional        access    to the

legal    materials         in-the    HCDC library.

        21.      The    Defendants     shall also provide          to any     inmate    a

reasonable        amount     of paper,       envelopes,    and writing        implements

and    sufficient        postage     for indigent       inmates    -- r0q~rding        legal


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 corresponden~e                     with                attorneys,                          legal services                      or assistance

 organizations,                     and courts.                                 The Defendants                             shall    provide      inmates
                                                                                                                     ~
.sufficient           photocopying                                      of legal ·docum~.nts to satisfy                                      court

 procedural           requirements                                      and to permit                             the inmate        to retain        a

 single      copy          of each document.                                               The Defendants                       shall    provide
                                                                                                                           ~
 adequate        notarial                           services                to inmates.

          22.     At no cost ·to·the De f'endarrt.s;
                                                  -·inmat-es·-shallbe
                                                                        -
 permitted        to purchase,                                     receive,                      and maintain                  in their      cells       a

 reasonable           amount                    of soft-bound                                    law books               and other       legal

 research        materials,                            to such extent not exceeding                                                 legitimate           fire
 safety      and security                              concerns.

        C.       Medical                    Care.

        To ensure                  adequate                         medical                      care is provided                   to inmates
                  ...~~=   ~",-",.--=---   ---~--             -~-----       ~-~---~~,."c<-,-_=     ..=._;::-.



 housed      at RCDC,                      Defendants                       shall provide                             medical       attention        and

 services        in accord                           with currently                                accepted              correctional          health

 care   standards.                         To this end, Defendants                                                    shall      undertake

 corrective          measures                          in the following                                         areas.

        23. Medical                         staffing.                          Defendants                          shall       enhance     the current

 medical        care       staffing                           level by hiring                                    or contracting            for the

 serv.ices of a full-time                                           licensed                     and qualified                   medical

 professional,                ~,                       a registered                              nurse,             to ensure        adequate        on-

 site   services              are provided.

        24.       Screening.                                  Defendants                         shall continue                    to ensure     all

 inmates      are medically                                   screened                   by appropriately                          trained     staff         and
                                                    -------   --


 that   all     screening                            forms indicating                                     a medical            condition      are




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 reviewed       by a qualified     medical       professional.        and become      part     of

 the inmate's       medical. record.

         25.     sick call.      Defendants              ..
                                                  shall continue          to ensure     that

 sick call       for inmates     is regularly        scheduled        and conducted         by a

 physician       at least three times a week.                     .-,
         26.     Physician     rounds.     Defendants         shall     continue     to ensure

 that    a physician      conducts   routine        rounds     of the     inmate     housing

 areas,     so that each housing          unit    is visited      by the physician             at

 least    one    (1) time a month.

         27.     Tuberculosis     (TB).     In all cases         of inmates        confined         at

 HCDC    for seven    days or more, Defendants                shall     continue     their

 current       practice   of administering         a PPD test         for TB with      the

 results       of the test forwarded        immediately         to the     facility

 physician.        If the test result        is positive,         the     inmate    shall     be

 immediately       scheduled     for a chest x-ray,           with      appropriate     medical

 care    and attention        including    isolation     to be provided            thereafter

 as indicated.

         28.     Medication     storage.     Defendants         shall     continue     to

 ensure    that    all medications,        particularly         injectable       medications

 such as penicillin           and insulin,       and all dangerous          medical

 supplies       are properly     stored and maintained            in a locked,         secure

 area.

         29.     Medication     administration.         Defendants         shall    ensure

 that all officers        who administer          prescription          medications     to

 inmates       are appropriately     trained       in medication          distribution        and

 in the ob se rv o nc e and recognition            of dangerous          side   e[("<."ts.


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                                                                                          -.••...
         30.     Pharmacy.        To ensure     proper    management       of

pharmaceutical~,            Defendants     shall contract         with    a pharmacist                 or

other     qualified       professional      to conduct      ~uarterly          reviews              of drug

management        at HCDC.

         31.     Trustees     in medical       unit.     Defendants       shall      ensure            that
                                                                  ~
inmate     trustees       have no access        to inmate medical          records,                 nor any

degree     of control        over inmate access          to medical       services.

                 D.     Mental    Health   Care/Suicide         Prevention.

         Defendants       shall provide        adequate    mental      health       services              to

ReDC     inmates,       inclUding    adequate     suicide    prevention         measures.                  To

this     end,    Defendants       shall undertake        the following         corrective
measures.

         32.     Staffing.        Defendants     shall employ         a Ph.D.       psychologist

to be present         at the facility         on at least a half-time                basis.

Further,        a licensed       psychiatrist    will be available             on call,              as

needed,        for provision       of such services        as crisis      intervention,

diagnosing        inmate/patients,         medication      prescriptions            and

renewals,        and other       consultation     (on or off site),            as
appropriate.

        33.     Enhancement        of services.        Defendants       shall       enhance           the
regularity       and continuity        of mental       health    care    services             for
inmates       at ROC.     Such enhancement        shall include          the    facility

psychologistfs          review    of medical     screening       forms,    assessment                 and

eyaluation       of mentally        ill and suicidal        inmates,      communication

with   a qualified        medical     professional        to ensure      appropriate

inmate    medication,        and availability          of a mental       health       carp


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provider      on-call     24 hours      a day, seven days            a seek,           for crisi~'

intervention         services.      Such enhancement              shall     also       include

ensuring      avail~bility,        either    at RCDC or;at           a local          hospital,       of

psychiatric         beds when    needed.

        34.    Suicide     prevention       program.         Defe~dants           shall     develop
                                                                     "-
and   implement       written    policies        and procedures            on suicide

prevention      and the treatment           of special -needs inmates,' which
                                    -
shall    include,      but not be limited            to, the       following:

               a). the appropriate           housing        of all special              needs

               inmates;

               b)     the establishment           of two levels            of supervi-

               sion     of special       needs    inmates      -- "constant             watch"      and

               "close     watchU.        special     needs     inmates          not    identified         as

               currently     suicidal       shall be assigned               to Uclose        watchu

               supervision       and visually            monitored        by RCDC       staff

               at regular        intervals       of not more         than       fifteen     minutes;

               special     needs     inmates who are currently                    suicidal         shall

               be assigned       to uconstant            watchU    supervision           and,      if not

               transferred        to a local hospital,               shall       be housed         in a

               medical     unit or other appropriately                     safe       environment,

               and shall     be visually          monitored        at all        times     by a jail

               officer.      Jail       officers     shall     log all monitoring                  in a

               separate     suicide       watch book;

               c)     the communication           of information            relating        to

               special     needs     inmates bet~een           and among          all     HCOC

               staff     members,       between     arresting        and    t   ro nspo r t.Lrrq


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   officers     and HCDC staff,          between     HCDC       staff     and     jail

   administration,        and between       HCDC     staff       and the        special

   needs     inmate;

   d)     the notification       by HCDC     staff         to local       or

   state     mental    health   authorities,         .
                                                     for informational
                                                     ~.

   purposes     only, that a special          needs          inmate      (except

   intoxicated)        has been admitted           to the Jail;

   e)     the notification        to the special             needs     inmate's

    family     (except those      inmates    incarcerated              for

    intoxication)       that he or she has been                 admitted        to HCDC;

    f)    the assessment        of all special        needs         inmates       as soon

   as reasonably        possible    by a qualified              mental       health

   professional        to assess    the inmate's             level     of suicide

    risk;

   g)     the establishment        of a mechanism             by which         HCDC

    staff    will communicate       with    the     facility         health       care

   providers      regarding      the status        of potentially

   suicidal      inmates or inmates         who have           recently

   attempted      suicide;

   h)     the establishment        of a mechanism             by which

   HCDC     staff will refer potentially              suicidal           inmates       and

    inmates    who have recently          attempted          suicide      to the

    facility     mental   health    care providers              or other

    facilities     for placement;

    i)    the documentation        of all attempted               and completed

   suicides      and notification         to jail         a drn i n i s t ro to rs;,


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                  outside       authorities     and family        members        of qll attempted

                  and completed          suicides;

                  j)     the establishment           of follo~-up         and administrative

                  review       procedures     for all~attempted            and completed

                  suicides,

                  if any,
                                  including

                                are needed
                                                the determina~ion

                                               in the suicide
                                                                     -,       of what

                                                                        Prevention
                                                                                             changes,

                                                                                            Program;

         35.      S.taff--training .. --As- -part-of the--j-a±l--officer training

program         required       by section     A., subpart        13, herein,        Defendants

 shall    ensure        that    each officer     is adequately            trained      in

 re~ognizing           common    symptoms     of mental       illness,       mental

 retardation,           and suicidal        behavior,       and is trained          in suicide

 prevention        measures.        Defendants        shall     further      ensure     that    each

 officer        is specifically          provided,      pre-service,         with    adequate

 suicide        prevention       training     by a qualified         mental       health

 professional           to include       training     regarding:          proper     officer

 response        to a suicide       or suicide        attempt,      including         how    to cut
                                                                                                     ..
 down    a hanging         victim    and other       first-aid     measures;          and    the hlgh-

 risk    groups        and periods       for suicides        and suicide         attempts.

         36.      screening.         Defendants       shall     revise     its medical

 screening        form to include           sufficient       inquiry      into    suicide      risk       in

 accordance        with     professional       standards.         The     mental      health-and

 suicide        risk    portion     of the screening          questionnaire           shall    be

 administered           by health     trained       staff    and reviewed         by qualified

 medical        or mental       health    personnel.         All such      screening         forms

 shall     be    forwarded        to the Medical        unit.
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         37.     Elimination          of physical           hazards.             Defendants       shall

identify        and    eliminate       all physical              hazards,        ~,        shower      bars       or

bar    grates     covering          lights,    which        pres:.nt a serious              risk      to

suicidal        or potentially          suicidal           inmates.

         38.     suicide       prevention       equipment.                  .
                                                                         Defendants
                                                                            ~.
                                                                                            shall

purchase        and maintain          in an area easily              accessible            to the

cellblock        appropriate                                     a: rescue
                                      rescue·equipment,--i.-e·-.-,-                               tool      for

rapid     cutting       of fibrous          materials           utilized         in attempted

hangings,        disposable          rubber    gloves,           a CPR pocket           mask,     and any

other     equipment          Defendants       deem appropriate,                   to ensure       that staff

can    effectively           intervene       in the event           of attempted            suicide.

         V.     TIMING       OF COMPLIANCE

         39.     Except       where    otherwise           specifically            indicated,         the

Defendants        shall       implement       all provisions              of this         Consent      Decree

by no later           than    one year after              the signing            of the Decree.

         40.     The     Defendants         shall,every 90 days following the
                                            ---------------       ---
signing        of this       Decree,     file with the Court                     and with      copy    to the
                                        ~
United        States
                             ------
                        a status~port               stating
                                                 .•.•.
                                                                   how the Defendants                 are

complying        with     each      requirement           of this Order.

        41.      If Defendants           fail to timely             comply         with    the

requirements           of this       Consent    Decree,           the united           states     shall      have

the    right     to seek       additional       relief           from the Court.

        VI.      GENERAL       PROVISIONS

         42.     During       all    times while           the Court       maintains           jurisdiction

over     this    action,       the United       States           shall    have        unrestricted

access        to copies       of all documents              which    relate           to th0


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implementation            of this Decree.            The United      states      shall       have

unrestricted           access     to all records          and recordings,            and-to       all

staff     and    facilities        as necessary          to address        issues     affected          by

this    Decree.



this
        43.

        Decree
                 The    Defendants        shall

                   to all HCDC staff members
                                                   immediately
                                                                      -,
                                                                     e.xplain the terms

                                                             and other         individuals
                                                                                                        of



providing        services       required     by this Decre-e, in--order- to- ens tire ----

that    they     understand       the requirements           of this       Decree      and the

necessity        for its strict compliance.                  All HCDC         staff    members          and

other     individuals          providing     services       required       by this      Decree

shall     sign    a statement           indicating       that they have         read and

understood        this       Decree.      Such statement          shall    be retained            by the

Defendants.            The    Defendants     shall       require    strict      compliance          with

this    Decree     by their       respective        employees,       agencies,         assigns,              or
successors.

        44.      The    parties    contemplate           that at such         time    the
                                                                                                        ~.



Defendants        have       achieved    compliance        with    the terms         and objectives

of this       Consent        Decree,    and have maintained           such      compliance          for a

sustained        period       of one year or more,           the parties         shall       jointly

move    this     Court       to vacate     this Decree       and to terminate               the

Court's       jurisdiction        over this action.               Should      Defendants          believe

that    substantial           compliance     with    the terms       and objectives               of this

Consent       Decree     have    been accomplished           at any time         before       this

date,     Defendants         may unilaterally         move this Court            for termination

of this       litigation.         Defendants        shall bear       the burden         regarding

any    such    unilateral        motion     to demonstrate          by full      and convincing


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evidence        that    Defendants    have     fully complied      with·all

requirements           of this Decree. .

Agreed     to    by:
COUNSEL

Date:
               FOR THE UNITED

         __________
                                     STATES:

                                     , 1994          -~~
                                                        EV~:CK     ~

                                                    Assistant Attorney General
                                                    civil Rights Division
                                                    united states Department   of
                                                    Justice


·'s. BRADLEY
 united State           Attorney
 Southern Dis           ict of Mississippi



                                                    AR~P~~
                                                    chief
                                                    special      Litigation     section




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COUNSEL.FOR DEFENDANTS-HARRISON COUNTY
AND HARRISON COUNTY BOARD OF SUPERVI~SO •~.
                                                         wd -=-
                                                          d    /    .




Date:   a-6£evL ;0/ , 1994_~fud1IL
                     r                   JO   It R.   MEADOWS
                                         Me dOws, Riley, Koenenn & Teel
                                         1720 23rd Avenue
                                         P.O. Drawer 550
                                         GUlfport,·~MS 39502


It is hereby Ordered, this




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